           Case 1:17-cv-02006-ELH Document 19 Filed 09/14/17 Page 1 of 3



                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                                (Baltimore Division)

JUDICIAL WATCH, INC. ,                            *

                                                  *
               Plaintiff,
v.                                                *      Case No.: 17-cv-02006-ELH

LINDA H. LAMONE, et al.,                          *

                                                  *
               Defendants.

*      *       *      *      *     *      *       *      *      *      *      *      *

           MOTION TO DISMISS PLAINTIFF'S COMPLAINT OR, IN THE
                ALTERNATIVE, FOR SUMMARY JUDGMENT

       Defendants Linda H. Lamone, State Administrator of Elections; David J. McManus,

Jr., Chairman, Maryland State Board of Elections; Patrick J. Hogan, Vice-Chairman,

Maryland State Board of Elections; Michael R. Cogan, Member, Maryland State Board of

Elections; Kelley A. Howells, Member, Maryland State Board of Elections; Gloria Lawlah,

Member, Maryland State Board of Elections; and Jared DeMarinis, Public Information

Officer, Maryland State Board of Elections; all sued in their official capacities (the “State

Defendants”), by their undersigned attorneys and pursuant to Rules 12(b)(6) and 56 of the

Federal Rules of Civil Procedure, hereby move to dismiss Plaintiff’s Complaint or, in the

alternative, for summary judgment.


       The grounds for the instant motion are contained in the Memorandum of Law filed

herewith and incorporated by reference herein.
         Case 1:17-cv-02006-ELH Document 19 Filed 09/14/17 Page 2 of 3



       WHEREFORE, for the reasons stated herein, the State Defendants hereby request

that the Court enter an order dismissing Plaintiff’s Complaint with prejudice or, in the

alternative, entering summary judgment in favor of the State Defendants and granting such

other and further relief as may be appropriate.


                                                  Respectfully submitted,

                                                  BRIAN E. FROSH
                                                  Attorney General of Maryland

                                                  /s/ Robert A. Scott
                                                  ______________________
                                                  ROBERT A. SCOTT
                                                  Federal Bar. No. 24613
                                                  Assistant Attorney General
                                                  200 Saint Paul Place, 20th Floor
                                                  Baltimore, Maryland 21202
                                                  rscott@oag.state.md.us
                                                  (410) 576-7055
                                                  (410) 576-6955 (facsimile)

September 14, 2017                                Attorneys for the State Defendants




                                             2
         Case 1:17-cv-02006-ELH Document 19 Filed 09/14/17 Page 3 of 3



                            CERTIFICATE OF SERVICE

      I certify that on this 14th day of September 2017 the foregoing Motion to Dismiss

or, in the Alternative, for Summary Judgment, and supporting Memorandum of Law were

filed via ECF and thereby served on all counsel of record.


                                           /s/ Robert A. Scott
                                         Robert A. Scott




                                            3
